Case No. 1:23-cv-02079-JLK Document 102 filed 01/04/24 USDC Colorado pgiofl

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
Civil Action No.: 23-cv-02079-JLK
ST. MARY CATHOLIC PARISH IN LITTLETON;
ST. BERNADETTE CATHOLIC PARISH IN LAKEWOOD; LISA SHELEY; and DANIEL
SHELEY,
Plaintiffs,

V.

LISA ROY, in her official capacity as Executive Director of the Colorado Department of

Early Childhood; and
AN ODEAN, in her official capacity as Director of Colorado’s Universal Preschool
rogram,

Defendants.

STIPULATION AND ORDER GOVERNING THE CUSTODY AND DISPOSITION
OF TRIAL EXHIBITS, DEPOSITIONS, TRANSCRIPTS, AND PAPERS

Following the completion of trial, the parties stipulate:

1. That counsel for each party shall retain custody of all exhibits, depositions,
transcripts, or papers identified, offered, or admitted at trial by that party until 60 days
after the time of appeal from this court has expired, or if appeal is taken, until 60 days
after the final, non-appealable decision has been made in this matter; and

2. That during any appeal, the party having custody of any part of the record

necessary for appeal shall make the exhibits and transcripts in its custody available to
the appealing party for filing with the appellate court.

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DATED at Denver, Colorado this L yu day of January, 2024.

BY THE COURT:

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(John L. Kane, Senior Judge
ited States District Court

yo for Plaintiff” Counsel for a= =

